                                                                                                                            Electronically Filed - St Louis County - October 24, 2019 - 02:09 PM
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                                                                                19SL-CC04853

               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                          STATE OF MISSOURI
ROCHELLE JONES,                                    )
                                                   )
      Plaintiff,                                   )
                                                   )   Cause No:
      vs.                                          )
                                                   )   Division:
                                                   )
PAUL CERAME AUTO GROUP, INC.                       )
                                                   )
Serve:                                             )
Spenserv-St. Louis, Inc.                           )
1 North Brentwood Blvd., Suite 1000                )
Clayton, Missouri 63105                            )
                                                   )
and                                                )
                                                   )
AMERICREDIT FINANCIAL SERVICES,                    )
INC.                                               )
                                                   )
Serve:                                             )
CSC of St. Louis County, Inc.                      )
130 South Bemiston Avenue, Suite 700               )
Clayton, Missouri 63105                            )
                                                   )
      Defendants.                                  )

                                            PETITION

       COMES NOW Plaintiff Rochelle Jones, by and through her undersigned counsel, and

asserts her cause of action under the Missouri Merchandising Practices Act (Chapter 407

560R  ³003$´ , the Magnuson-Moss Warranty ± Federal Trade Commission Improvement

Act (15 U.S.C. § 2301 et seq  WKH³00:$´ , and the Fair Credit Reporting Action (15 U.S.C.

§ 1681 et seq  ³FCRA´  against Defendants Paul Cerame Auto Group, Inc. and Americredit

Financial Services, Inc., and in support thereof, states to the Court the following:

                                PARTIES AND JURISDICTION

       1.      Plaintiff is an adult individual citizen and legal resident of the State of Missouri.
                                                                                           EXHIBIT
                                                                                                       exhibitsticker.com




                                                                                                A
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       2.       Defendant Paul Cerame Auto Group, Inc. ³Paul Cerame´ is a domestic

corporation.

       3.        Defendant Americredit Financial Serivces, Inc. ³Americredit´  is a foreign

corporation registered to conduct business within the State of Missouri.

       4.       This Court has jurisdiction over the subject matter of this civil suit pursuant to the

Missouri Constitution, Article V § 14.

       5.       This Court has the statutory authority to grant the relief requested herein pursuant

to § 407.025 R.S.Mo, and § 478.070 R.S.Mo.

       6.       Venue is proper in the St. Louis County, Missouri, where Defendants¶ registered

agents are located, Plaintiff resides, and the transaction occurred.

                                         BACKGROUND

            Defendant Paul Cerame Sells a Vehicle to Plaintiff Without Providing Title

       7.       On July 21, 2015, Plaintiff purchased a 2014 Ford Fusion bearing the Vehicle

Identification Number 3FA6P0H98ER340342 KHUHLQDIWHUWKH³9HKLFOH´ IURPPaul Cerame.

       8.       Plaintiff and Paul Cerame memorialized their agreement, for valuable

consideration, by entering into a written %X\HU¶V 2UGHU, which shows the sale price of the

Vehicle as $18,689.00.

       9.       Plaintiff financed the purchase through Americredit by entering into a Retail

Installment &RQWUDFWFRQWHPSRUDQHRXVO\ZLWKWKH%X\HU¶V2UGHU

       10.      Plaintiff received possession of the Vehicle from Paul Cerame, as the parties

agreed and intended, on the same day of her purchase.

       11.      Plaintiff used the Vehicle for her personal use beginning on July 21, 2015.

       12.      Plaintiff thus purchased the Vehicle as that term is used pursuant to § 407.025



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R.S.Mo.

        13.     Paul Cerame agreed to transfer Title to the Vehicle to Plaintiff, as evidenced by

the Application for Missouri Title and License, Missouri Department of Revenue Form 108,

which Paul Cerame completed.

        14.     Paul Cerame signed the Application for Missouri Title and License, showing

Plaintiff as the owner of the Vehicle, under the penalty of perjury.

        15.     8QGHUVHFWLRQDGHDOHUVKLS ³shall . . . deliver [title] to the buyer at the

WLPH RI WKH GHOLYHU\´ RI WKH PRWRU YHKLFOH  0R 5HY 6WDW   HPSKDVLV DGGHG 

³$EVROXWH WHFKQLFDO FRPSOLDQFH ZLWK WKH statute is required, otherwise the sale is

IUDXGXOHQW´ Oliver v. Cameron Mutual, 866 S.W.2d 865, 868 (Mo. App. 1993).

        16.     Paul Cerame did not provide title to the Vehicle to Plaintiff on the date she

purchased the vehicle and took possession of the same.

        17.     After purchasing the Vehicle, Plaintiff went to the Missouri Department of Motor

Vehicles with all of the documents she obtained at the time of sale.

        18.     A representative informed her that she could not register the Vehicle without a

copy of the actual title as opposed to the mere application.

        19.     Therefore, Plaintiff called Paul Cerame and asked about the status of the title.

        20.     Paul Cerame informed her that it would mail her a copy, however, it never did so.

        21.     To date, Plaintiff has never received title to the Vehicle.

        22.     Without valid title, the Vehicle possesses zero market value and Plaintiff will

incur additional late fees for registering it.

        23.     Even though she did not have a copy of the title, Plaintiff nevertheless maintained

insurance on the Vehicle and made her payments to Americredit.




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        24.     ³8nder Missouri law, if a buyer is not provided with a title, said buyer is relieved

of the obligaWLRQWRPDNHSD\PHQWVRQWKHSXUFKDVH´See Peel v. Credit Acceptance Corp., 408

S.W.3d 191, 197 (Mo. App. W.D. 2013); accord Burton v. SS Auto Inc., 426 S.W.3d 43, 48 [n6]

0R$SS:'  ³>(@YHQZKHQPRVWRIWKHYHKLFOH¶VSXUFKDVHSULFHLVILQDQFHG and that

failure to provide such title relieves the buyer from his obligation to make further payments on

WKHYHKLFOH´ 

        25.     Notwithstanding the fact that Plaintiff was relieved of her obligation to make

payments, Americredit required Plaintiff to make her payments.

        26.     Then, in July of 2019, Plaintiff was involved in a motor vehicle accident.

        27.     Plaintiff submitted the claim to her insurance carrier, Geico, who the damage was

otherwise covered but that Plaintiff needed to first obtain a copy of the title.

        28.     Plaintiff then contacted Paul Cerame who acknowledged that it had never

provided her title and said that Plaintiff would need to apply for a duplicate title.

        29.     Plaintiff did as instructed but by the time she compiled the documentation for the

duplicate title, Americredit had already sought a repossession title.

        30.     Upon information and belief, Americredit prepared and sent Form 5005 to the

Missouri Department of Revenue, in which Americredit declared, under SHQDOW\RISHUMXU\³WKDW

the debtor has defaulted in payment of the debt on the unit listed above and the unit has been

repossessed either by legal process or in accordance with the terms of the security contract. I

have written consent from all owners and/or lienholders of record to repossess this unit or I have

provided all owners/lienholders with a 10-day written notice by first class mail or as outlined in

the Uniform Commercial Code, of the repossession and that an application for repossessed title

ZLOOEHPDGHDQGWKHQRWLFHKDVQRZH[SLUHG´




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        31.       In actuality, Americredit perjured itself.

        32.       Americredit did not have written consent from Plaintiff to repossess the vehicle.

        33.       Americredit did not provide Plaintiff with a 10-day written notice of the

repossession, or any other notice.

        34.       Americredit failed to provide notice to Plaintiff as required by § 408.554 R.S.Mo,

and further failed to apprise Plaintiff that Americredit believed that Plaintiff was in default.

        35.       Americredit also failed to send Plaintiff notice pursuant to § 301.215(2) R.S.Mo.

        36.       Since Plaintiff was never provided title, Plaintiff could not have been in default of

any payments.

        37.       Americredit¶s application for a repossession title was, therefore, necessarily

improper.

        38.       Plaintiff informed Amercredit that she never received title.

        39.       Undeterred, Americredit began submittinJQHJDWLYHWUDGHOLQHVRQ3ODLQWLII¶VFUHGLW

report in a further attempt to coerce payments from her despite knowledge that she never

received title.

        40.       Plaintiff can no longer obtain reasonable financing to purchase another substitute

vehicle as a result of Americredit¶s credit reporting conduct.

        41.       To date, Americredit FRQWLQXHV WR XSGDWH 3ODLQWLII¶V FUHGLW UHSRUW ZLWK D ODUJHU-

and-larger past due balance, which is further GDPDJLQJ3ODLQWLII¶VFUHGLWEH\RQGUHSDLU

        42.       To date, Americredit has never returned any of the payments Plaintiff made on

her loan during the time period in which she did not have title.




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                                       COUNT I
           VIOLATIONS OF MISSOURI MERCHANDISING PRACTICES ACT
     (as to Paul Cerame Auto Group, Inc. and Americredit Financial Services, Inc.)

        43.    Plaintiff hereby reavers and incorporates by reference all statements and

allegations previously set forth as if fully rewritten herein.

        44.    Plaintiff is D³3HUVRQ´DVGHILQHGE\  R.S.Mo.

        45.    Defendants are each D³3HUVRQ´DVGHILQHGE\  R.S.Mo

        46.    The Vehicle iV³PHUFKDQGLVH´as defined by § 407.010(4) R.S.Mo.

        47.    3ODLQWLII¶VSXUFKDVHRIWKHVehicle LVD³6DOH´RULVLQFRQQHFWLRQZLWKD³6DOH´DV

defined by § 407.010(6) and § 407.020 R.S.Mo.

        48.    Plaintiff purchased the Vehicle from primarily for personal, family, or household

purposes.

        49.    In connection with the sale of the Vehicle to Plaintiff, Defendants committed

deception, fraud, false pretense, false promise, misrepresentation, unfair practice or the

concealment, suppression, or omission of a material fact, in violation of § 407.020 R.S.Mo.

        50.    An unfair business practice under the MMPA includes any method, use or

practice that violates a federal law intended to protect the public, per 15 C.S.R. § 60-8.090.

        51.    Defendants violated § 301.210 R.S.Mo. by not transferring title to the Vehicle to

Plaintiff.

        52.    As the assignee of the retail installment contract, Defendant Americredit is

equally liable for the violations stemming from the sale pursuant to 16 C.F.R. § 433.

        53.    As a direct and proximate result of Defendants¶ violations of § 407.020 R.S.Mo.,

Plaintiff has suffered an ascertainable loss of money, and seek relief pursuant to § 407.025

R.S.Mo




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        54.    Pursuant to § 407.025 R.S.Mo., Plaintiff seeks DFWXDO GDPDJHV DQG DWWRUQH\¶V

fees.

        WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants for damages that will fairly and justly compensate Plaintiff, together with her costs

DQG DWWRUQH\¶V IHHV KHUHLQ LQFXUUHG DQG H[SHnded, interest, and for such further and additional

relief as this Court may deem just and proper under the circumstances.

                                        COUNT II
               VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
        (as to Paul Cerame Auto Group, Inc. and Americredit Financial Services, Inc.)

        55.    Plaintiff hereby reavers and incorporates by reference all statements and

allegations previously set forth as if fully rewritten herein.

        56.    The Vehicle is a ³JRRG´DVGHILQHGE\-103 R.S.Mo.

        57.    The Vehicle is also a ³&RQVXPHU3URGXFW´DVGHILQHGE\86&  

        58.    PODLQWLIILVD³%X\HU´SHU 400.2-103 R.S.Mo., in that she bought goods, namely,

the Vehicle.

        59.    3ODLQWLII LV DOVR ³&RQVXPHU´ DV GHILQHG E\  86 &     in that she

purchased a consumer product.

        60.    Defendant Paul Cerame is D ³6HOOHU´ SHU -103 R.S.Mo. in that it sells or

contract to sells goods.

        61.    Defendant Americredit is a ³6HOOHU´SHU-103 R.S.Mo. in that by standing in

the shoes of Defendant Paul Cerame it sells goods, and also entered into a contract to sell goods,

namely, the Motor Vehicle Retail Installment Contract.

        62.    Defendant Paul Cerame is also a ³6XSSOLHU´DQGD³:DUUDQWRU´DVGHILQHGE\

U.S.C. §§ 2301(4) and 2301(5).




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        63.     Defendant Americredit LVD³6XSSOLHU´DVGHILned by 15 U.S.C. § 2301(4) in that

by standing in the shoes of Defendant Paul Cerame it supplied a vehicle, and also because it

indirectly made the vehicle available to Plaintiff.

        64.     Pursuant to § 400.2-312 R.S.Mo., Defendants created a warranty of title, namely,

that title shall be conveyed to Plaintiff.

        65.     Defendants WKHUHIRUHSURYLGHG3ODLQWLIIDQ³,PSOLHG:DUUDQW\´DVGHILQHGE\

U.S.C. § 2301(7).

        66.     Section 15 U.S.C. § 2310(d)(1) provides:

                [A] consumer who is damaged by the failure of a supplier,
                warrantor, or service contractor to comply with any
                obligation under this chapter, or under a written warranty,
                implied warranty or service contract, may bring suit for
                damages and other legal and equitable relief...

        67.     Defendants have been afforded a reasonable opportunity to cure the breach of

warranty relating to the title, pursuant to 15 U.S.C. § 2310(e).

        68.     The failure to provide title constitutes a breach of the implied warranty per §

400.2-312 R.S.Mo.

        69.     3ODLQWLII WKHUHIRUH EULQJV WKLV VXLW IRU 'HIHQGDQWV¶ IDLOXUH Wo comply with its

obligations under an implied warranty.

        70.     Plaintiff notified Defendants regarding a breach of warranty within a reasonable

time.

        71.     As a direct and proximate result RI'HIHQGDQWV¶failure to comply with the implied

warranty of title, Plaintiff has suffered suffer damages.

        72.     3XUVXDQWWR86& G  3ODLQWLIIVHHNVDOO&RVWVLQFOXGLQJDWWRUQH\¶V

fees and expert witness fees.




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     WHEREFORE, Plaintiff respectfully demands damages consisting of:

              A. The full purchase price of the vehicle, collateral charges, finance charges,

                 incidental and consequential damages;

              B. &RVWVLQFOXGLQJH[SHUWZLWQHVVIHHVDQGUHDVRQDEOHDWWRUQH\¶VIHHVDQG

              C. For such other relief as this court deems just and proper.

                    COUNT III: NEGLIGENT VIOLATION OF THE FCRA
                        (as to Americredit Financial Services, Inc.)

       73.       Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       74.       Defendant has failed to exercise ordinary care in order to comply with the

provisions of the FCRA, 15 U.S.C. § 1681 et seq. Specifically, Defendant:

       a.        )XUQLVKHGLQIRUPDWLRQUHODWLQJWR3ODLQWLII¶VDOOHJHGGHEWWRDFRQVXPHU reporting

agency that Defendant had reasonable cause to believe was inaccurate, 15 U.S.C. § 1681s-

2(a)(1)(A);

       b.        )DLOHG WR DFFXUDWHO\ SURYLGH LQIRUPDWLRQ UHODWLQJ WR 3ODLQWLII¶V loan account that

Defendant had erroneously reported as delinquent, 15 U.S.C. § 1681s-2(a)(5);

       c.        Failed to provide Plaintiff sufficient notice regarding 'HIHQGDQW¶VLQWHQWWRIXUQLVK

negative information to a credit reporting bureau prior to reporting such a negative entry, 15

U.S.C. § 1681s-2(a)(7);

       d.        Failed to establish and maintain reasonable guidelines regarding the accuracy and

integrity of the informaWLRQ UHODWLQJ WR FRQVXPHUV¶ LQIRUPDWLRQ WKDW 'HIHQGDQW IXUQLVKHG WR

reporting agencies, 15 U.S.C. § 1681s-2(e)(1).

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        -XGJPHQWWKDW'HIHQGDQW¶VFRQGXFWYLRODWHGWKH)&5A;



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        B.      Actual damages;

        C.      5HDVRQDEOHDWWRUQH\¶VIHHVSXUVXDQWWR86&R

        D.      For such other relief as the Court may deem just and proper.

                    COUNT IV: WILLFUL VIOLATION OF THE FCRA
                       (as to Americredit Financial Services, Inc.)

        75.     Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

        76.     Defendant knew that Plaintiff did not receive title to her Vehicle but nevertheless

reported the loan as delinquent.

        77.     'HIHQGDQW¶V DFWLRQV described above were thus knowingly and intentionally

committed in conVFLRXVGLVUHJDUGIRUDQGUHFNOHVVLQGLIIHUHQFHWR3ODLQWLII¶VULJKWV

        78.     Defendant has failed to comply with the provisions of the FCRA, 15 U.S.C. §

1681 et seq., as a result of its conscioXV GLVUHJDUG IRU DQG UHFNOHVV LQGLIIHUHQFH WR 3ODLQWLII¶V

rights. Specifically, Defendant:

        a.      )XUQLVKHGLQIRUPDWLRQUHODWLQJWR3ODLQWLII¶VDOOHJHGGHEWWRDFRQVXPHUUHSRUWLQJ

agency that Defendant had reasonable cause to believe was inaccurate, 15 U.S.C. § 1681s-

2(a)(1)(A);

        b.      Failed to accurately provide information relating tR 3ODLQWLII¶V loan account that

Defendant had erroneously reported as delinquent, 15 U.S.C. § 1681s-2(a)(5);

        c.      )DLOHGWRSURYLGH3ODLQWLIIVXIILFLHQWQRWLFHUHJDUGLQJ'HIHQGDQW¶VLQWHQWWR furnish

negative information to a credit reporting bureau prior to reporting such a negative entry, 15

U.S.C. § 1681s-2(a)(7);

        d.      Failed to establish and maintain reasonable guidelines regarding the accuracy and

integrity of the information relating to consuPHUV¶ LQIRUPDWLRQ WKDW 'HIHQGDQW IXUQLVKHG WR

reporting agencies, 15 U.S.C. § 1681s-2(e)(1).



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       79.       'HIHQGDQW¶V UHSHDWHG QRQFRPSOLDQFH ZLWK UHVSHFW WR 3ODLQWLII¶V GHEW DQG

'HIHQGDQW¶VZLGHVSUHDGIDLOXUHWRDGRSWUHDVRQDEOHPHDVXUHVWRHQVXUHRWKHUFRQVXPHUVLQDlike

position do not have their account information negatively reported justifies the imposition of

punitive damages.

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        -XGJPHQWWKDW'HIHQGDQW¶VFRQGXFWYLRODWHGWKHFCRA;

       B.        Actual damages, or statutory damages of $1,000;

       C.        Reasonable attorQH\¶VIHHVSXUVXDQWWR86&Q

       D.        Punitive damages in the greatest amount available by law;

       E.        For such other relief as the Court may deem just and proper.



                                                      Respectfully submitted,

                                                      BRODY & CORNWELL

                                                      /s/ Bryan E. Brody      #57580
                                                      Bryan E. Brody,         #57580
                                                      Alexander J. Cornwell, #64793
                                                      7730 Carondelet, Ste. 135
                                                      St. Louis, MO 63105
                                                      Ph: (314)-932-1068 / Fax: (314)-228-0338
                                                      BBrody@BrodyandCornwell.com
                                                      ACornwell@BrodyandCornwell.com
                                                      Attorneys for Plaintiff




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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 19SL-CC04853
 MICHAEL T JAMISON
 Plaintiff/Petitioner:                                          3ODLQWLII¶V3HWLWLRQHU¶VAttorney/Address
 ROCHELLE JONES                                                 BRYAN ETHAN BRODY
                                                                7730 CARONDELET AVE.
                                                                SUITE 135
                                                          vs.   ST. LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 PAUL CERAME AUTO GROUP, INC.                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Contract-Other                                              CLAYTON, MO 63105
                                                                                                                                      (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: AMERICREDIT FINANCIAL SERVICES, INC.
                                      Alias:
  C/O CSC OF ST. LOUIS COUNTY
  130 S. BEMISTON-STE 700
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        05-NOV-2019                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AD
                                                               6KHULII¶VRU6HUYHU¶V5HWXUQ
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBDSHUVRQRIWKH'HIHQGDQW¶V5HVSRQGHQW¶VIDPLO\RYHUWhe age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                         Date                                         Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-10161          1   (Civil Procedure Form No. 1, Rules 54.01 ± 54.05,
                                                                                                         54.13, and 54.20; 506.120 ± 506.140, and 506.150 RSMo
            Case: 4:19-cv-03210-RLW Doc. #: 1-1 Filed: 12/06/19 Page: 13 of 15 PageID #: 19
     6KHULII¶V)HHVLIDSSOLFDEOH
     Summons                       $
     Non Est                       $
     6KHULII¶V'HSXW\6DODU\
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-10161    2    (Civil Procedure Form No. 1, Rules 54.01 ± 54.05,
                                                                                                    54.13, and 54.20; 506.120 ± 506.140, and 506.150 RSMo
            Case: 4:19-cv-03210-RLW Doc. #: 1-1 Filed: 12/06/19 Page: 14 of 15 PageID #: 20
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of D QHXWUDO WKLUG SDUW\ RIWHQ UHIHUUHG WR DV WKH ³QHXWUDO´ ZKR LV WUDLQHG LQ GLVSXWH
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
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simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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                                                                                                  54.13, and 54.20; 506.120 ± 506.140, and 506.150 RSMo
           Case: 4:19-cv-03210-RLW Doc. #: 1-1 Filed: 12/06/19 Page: 15 of 15 PageID #: 21
   (3) (DUO\1HXWUDO(YDOXDWLRQ ³(1(´  A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
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deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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                                                                                                  54.13, and 54.20; 506.120 ± 506.140, and 506.150 RSMo
